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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
                                     PORTLAND DIVISION




AARON M. HANNA(legal name) Formerly,
TIMOTHY A. HINKHOUSE                                    )
         v.                                             )
                                                        )      COMPLAINT
                                                        )      Civil Action No.- -2:21-cv-00493-YY
                                                                                   --------
COLETTE PETERS                                          )
TYLER BLEWETT                                           )
LIEUTENANT ROBINSON                                     )
SEARGENT IRVING                                         )
OFFICER PLOURD                                          )
OFFICER H. COCHELL                                      )
OFFICER CARRILLO                                        )
OFFICER NIELSEN                                         )
OFFICER DAVIS

                                    I.JURISDICTION AND VENUE

     1. This is a civil action authorized by 42 U.S.C. Section 1983 to redress the deprivation, under the
         color of state law, ofrights secured by the Constitution of the United States. The court
         jurisdiction under 28 U.S.C., Section 1331 and 1343 (a) (3). Plaintiff seeks declaratory relief
         pursuant to 28 U.S.C., Section 2201 and 2202. Plaintiffs claims for injunctive relief are
         authorized by 28 U.S.C,, Section 2283 and 2284 and rule 65 of the Federal Rules of Civil
         Procedure.

     2. The Portland Division is an appropriate venue under 28 U.S.C. Section 1391(b)(2) because it is
         where the events giving rise to the claim occurred.


                                            II. PLAINTIFF(S)

     3. Plaintiff AARON M. HANNA Formerly, TIMOTHY ALAN HINKHOUSE, is and was at all
    times mentioned herein a prisoner of the State of Oregon in the custody of the Oregon Department
    of Corrections. He is currently confined in the Two Rivers Correctional Institution.


                                           III. DEFENDANTS


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     4. Defendant Colette Peters is the Director of the Oregon Department of Corrections. She is
    legally responsible for the overall operation of the department and each institution under its
    jurisdiction, including the Two Rivers Correctional Institution where the Plaintiff is confined.


     5. Defendant Tyler Blewett is the Superintendent of the Two Rivers Correctional Institution. He is
    legally responsible for the operation of the Two Rivers Correctional Institution and for the welfare
    of all the inmates in this prison.


     6. Defendant Robinson is a correctional officer at the Oregon Department of Corrections who, at
    all times mentioned in this complaint held the rank of lieutenant and was assigned to the Two
    Rivers Correctional Institution.


    7. Defendant Irving is a correctional officer at the Oregon Department of Corrections who, at all
    times mentioned in this complaint held the rank of Sargent and was assigned to the Two Rivers
    Correctional Institution.


    8. Defendant Plourde is a correctional officer at the Oregon Department of Corrections who, at all
    times mentioned in this complaint held the rank of officer and was assigned to the Two Rivers
    Correctional Institution.


    9. Defendant H. Cochell is a correctional officer at the Oregon Department of Corrections who, at
    all times mentioned in this complaint held the rank of officer and was assigned to the Two Rivers
    Correctional Institution.


    10. Defendant Carrillo is a correctional officer at the Oregon Department of Corrections who, at all
    times mentioned in this complaint held the rank of officer and was assigned to the Two Rivers
    Correctional Institution.


     11. Defendant E. Nielsen is a correctional officer at the Oregon Department of Corrections who,
    at all times mentioned in this complaint held the rank of officer and was assigned to the Two Rivers
    Correctional Institution.




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     12. Defendant Davis is a correctional officer at the Department of Corrections who, at all times
    mentioned in this complaint held the rank of correctional officer and was assigned to the Two
    Rivers Correctional Institution.


      13. Each defendant is sued individually and in his or her official capacity. At all times mentioned
in this complaint each defendant acted under the color of law. At all times mentioned in this complaint
each defendant also acted in their individual capacities to violate plaintiffs Constitutional Rights under
Federal Rules of Court Procedure 17 (b) (1 ).


         14. Each defendant working for the Oregon Department of Corrections has to observe DOC
Policy: 20.1 .1 "Department Mission, Vision, and Values. Reading the "Vision, Operating Safe
Facilities, We are innovative leaders who take pride in the work we do and the service we provide. We
use proven practices to encourage and maintain a positive, safe, and healthy workplace."


         15. Each defendant that was hired on to the Oregon Department of Corrections had to sign and
date a form called "CODE OF ETHICS." This form can be found in the DOC Policies and
Procedures Manual, DOC Policy 20.1.2. The form says the following: "As an employee of the Oregon
Department of Corrections, I will value and maintain the highest ideals of professional and
compassionate public service by respecting the dignity, cultural diversity and human rights of all
persons, and protecting the safety and welfare of the public. I ACCEPT THAT MY
FUNDAMENTAL DUTY IS TO SERVE THE PUBLIC; TO SAFEGUARD LIVES AND
PROPERTY, TO PROTECT DEPARTMENT OF CORRECTIONS INCARCERATED
PERSONS against deception, oppression or intimidation, violence or disorder. I WILL BE
CONSTANTLY MINDFUL OF THE WELFARE OF OTHERS. To the best of my ability, I will
remain calm in the face of danger and maintain self restraint in the face of scorn or ridicule. I WILL
BE HONEST AND TRUTHFUL. I WILL BE EXEMPLARY IN OBEYING THE LAW,
FOLLOWING THE REGULATIONS OF THE DEPARTMENT, AND REPORTING
DISHONEST OR UNETHICAL CONDUCT. I acknowledge that I have been selected for a position
of public trust and I will constantly strive to be worthy of that trust and to be true to the mission and
values of the Department of Corrections."


    16. Each defendant working for the Oregon Department of Corrections must follow and adhere to


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    DOC Policy 20.1.3 "Code of Conduct" III. Policy: "Every employee of DOC shall constantly
    strive to attain the highest standards of conduct and professional public service. This requires
    employees be faithful to the principles of providing professional services, adhering to the Code of
    Ethics and meeting the vision, values, rules, policies and procedures of the department. Employee's
    conduct must be above reproach and must not impugn the credibility and honesty of the
    department, it's employees, or the corrections profession.


    17. (A) Failure by employees to follow this policy may result in appropriate disciplinary action, up
    to and including dismissal.


    18. (B) It is essential to the orderly operation of the department that employees conduct themselves
    professionally, in accordance with the following standards: (1) Violation of Directives: Employees
    shall not knowingly commit or omit acts which constitute a violation of any policies, rules,
    procedures, regulations, directives, or orders of the department.


                                               IV. FACTS


         19. In the last couple of weeks in June 2020, an order came down from an Lieutenant
Robinson an employee in the management position which had ordered all TRCI security staff to
conduct a "pat down" when AIC's are in the halls waiting in line for their meals. This new policy was
implemented after the COVID-19 pandemic was in full swing at this institution. It was not mandated
by management that all staff must wear gloves at this time and change them after each pat down. It was
not mandated that staff should be wearing a mask at this time during the pat down. Management did
not direct staff to have all AI C's face away from the staff while patting them down at this time. Most
employees did not wear a face covering at this time.


        20. Upon information and belief I understand that a mask mandate was written by Captain
Rumsey on June 30th and to be implemented on July 1st, 2020. This mandate was immediately
rescinded by Captain Rumsey due to inner departmental politics which I am not privy to.


        21. On June 27u1, 2020 plaintiff wrote a grievance #TRCI-2020-06-166 to complain that
Officer Davis had pulled him out of line for the evening meal to pat him down. He complained that


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Officer Davis did not change out his gloves, wear a face covering or have him turn his back on him
while he patted the plaintiff down. This grievance and appeal was denied which shows the court that
the administrative remedies on this officer have been exhausted. See attachment #1 and #2 with the
response.


        22. On July 711\ 2020 a memo/directive was posted on my unit bulletin board saying that all
AI Cs have to wear a face mask when leaving their housing units, traveling in the hallways, going to
med lines, or entering into medical. This was when all AICs were ordered to eat all meals in their cells.


        23. Upon information and belief the plaintiff spoke with Officer Frazier on July l 6t11, 2020 in
the main corridor #5, right in front of the ( 19) nineteen education department. He had learned from the
officer that a memo/email had came out of Salem from the Director of Corrections Colette Peters on
July 131\ or 14th . This mandate is directed to all Oregon of Department of Corrections employees
telling them to wear a face covering/mask around all AI C's if they can't practice social distancing. This
new DOC policy was to be implemented and enforced on Wednesday July 15 1\ 2020.


        24. At or around 1400hrs, is the time for staff shift change from day shift( or 2nd shift) to swing
shift(or 3rd shift) to 2200hrs. Officer Plourde came onto plaintiffs housing unit at 1400hrs to relieve the
day shift staff. At 1800hrs is was when Officer Carrillo came into to work four hours of overtime. This
officer is also the graveyard (or 1st shift) staff two nights a week from 2200hrs to 0600hrs. Officer
Plourde and Officer Carrillo did not wear any type of face covering their entire time on my unit till
2200hrs.


     25. Sometime before 1500hrs on July 15 th , 2020, Officer Plourde went into cell 12-34 to do a
    shake down. He entered into this cell not wearing a face covering or protective gloves taking his
    duty seriously to take every precaution to protect inmates. One occupant of this cell had to wait in
    the unit day room until Mr. Plourde was done and the day room occupants were witness to Mr.
    Plourde's carelessness.


     26. Around 151 Shrs, Officer Plourde was doing a tier walk on the bottom tier and he had to pass
    by the plaintiff sitting in the day room. Plaintiff had asked him where was his face mask? He
    responded, "In my pocket." Plaintiff had witnessed that the officer made no attempts to find a mask


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    and put it on his face to cover his nose and mouth. Each time plaintiff saw Officer Plourde till he
    went home, he wasn't wearing a mask.


     27. The officer who worked from 1400hrs to 1800hrs was sharing the overtime shift. When a staff
    member is forced to work overtime, it is called "Getting Bucketed." If the "bucketed " officer
    doesn't want to work a full overtime shift of eight hours, they will find a "split partner" that will
    cover four of those eight hours . This was why Officer Carrillo came on at 1800hrs.


     28. Officer Carrillo did not wear a face covering or practice social distancing the four hours he
    worked overtime. 1800hrs is when the day room is opened in the evening and then at 2200hrs, the
    AICs are locked down until the next morning.


     29. On the same day of July 15 1\ at around 2006hrs, plaintiff had witnessed Sgt. Irving on the
    housing unit # 12 talking with both Officer Carrillo and Officer Plourde right in front of the unit
    office door which can bee seen by security camera #218. Sgt. Irving was on the housing unit
    wearing a black mask which was covering her mouth and nose. She kept the mask on the entire
    time she stayed on the unit. While she was talking to both of her subordinates, Officer Plourde and
    Officer Carrillo, they had made no attempt to put on any type of face covering.


     30. It is the belief of the plaintiff that Sgt. Irving did not tell her subordinate staff to wear a mask
    around inmates if they can't practice social distancing. I am alleging that she failed to remind them
    of the memo that came out from the Office of the Director of Corrections the day before. I am also
    alleging that if Sgt. Irving did tell her subordinate staff to wear masks, they outright refused to do
    so which is their failure to follow DOC Policy. They made the personal choice in their individual
    capacities to work around inmates and not wear masks, which shows the necessary elements to
    prove deliberate indifference. Plaintiff alleges that Sgt. Irving is liable in her supervisory role and in
    her official capacity for her subordinates' disregard for following DOC policies, Constitutional and
    ORS violations not holding them accountable. The officers knew that being asymptomatic for
    COVID-19 created a substantial risk for the incarcerated people they are sworn to protect as read in
    DOC Po licy 20.1.2 "Code of Ethics" "I accept that my fundamental duty is to serve the public; to
    safeguard lives and property, to protect Department of Corrections incarcerated persons against
    deception, oppression or intimidation, violence or disorder." Plaintiff is not a medical professional,


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    so he has to believe that everyone from the free world is asymptomatic and is a threat to his health,
    which is why masks are so important.


     31. On July 181\ 2020 the plaintiff wrote an Inmate Communication addressed to Captain
    Rumsey saying the following: "I understand that Salem put out a department wide email saying that
    all staff wear face coverings when they can't practice social distancing with AI C's this past week?
    Was this true?" Captain Rumsey responded on July 21 st , 2020 saying, "Staff have been instructed
    that they need to wear a mask when they can't social distance." See Exhibit ()


    32. On Sunday morning July 19t11, 2020 between 0900hrs. and 0930hrs, med line was called for
    plaintiffs housing unit. This means that he has to exit out the unit door to the left, down corridor (4)
    four, take a right tum, and head down corridor (5) five until he will reach med line, this is always in
    front of the medical department. When plaintiff arrived, he saw that officer Nielsen was the med
    line officer which was his regular day to be there. Plaintiff saw that officer wearing a face covering
    improperly by only having his mouth covered and not his nose. This can be seen on the corridor
    cameras at this time.


     33. When it was the plaintiffs tum to get medication, he was standing in front of Nurse Rhodes.
    This was when he had asked her about the effectiveness of a face covering just the mouth versus
    both the mouth and nose. That was when plaintiff pointed out to the nurse that the officer was not
    wearing his face covering properly. She advised the plaintiff that a mask is more effective when
    both the mouth and nose were covered so as not to spread COVID-19 in here. She acknowledged
    that Officer Nielsen wasn't wearing his mask properly when the plaintiff had pointed this out to her.


     34. When Nurse Rhodes was done counseling plaintiff and giving him his medication, he had to
    swallow the pill and open his mouth to show officer Nielsen that he had swallowed his medicine.
    After plaintiff showed him that he took his medication, plaintiff pulled his face mask back up and
    he proceeded to share with Officer Nielsen this information given to him about face
    coverings/masks. He replied, "Its not a real masks." Plaintiff told him that for any face covering to
    be effective, it has to cover his nose and mouth. He shrugged off the plaintiff and he returned to his
    housing unit to fill out a grievance about what happened.



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    35. On Monday morning July 200, 2020, plaintiff was standing in line waiting for medication
    around 0915hrs when he saw Officer Nielsen, the med line officer, not wearing his face covering
    properly. When it was plaintiffs turn to get his medication, he was standing in front of nurse
    Thurman. Plaintiff had asked her about the effectiveness of a face covering just the mouth and not
    the nose too. Nurse Thurman went on to tell him about how if a person doesn't cover their nose and
    they sneeze, how the droplets from a sneeze can travel and hang around in the air. Plaintiff had
    pointed out that Officer Nielsen only had his mouth covered. Nurse Thurman had acknowledged
    this, and then she advised plaintiff' to "send a kite"(inmate communication) to tell someone.


                                      FIRST CLAIM FOR RELIEF:


                                 (EIGHTH AMENDMENT VIOLATION)


               (Plaintiff reincorporates paragraph 1-35, as if stated wherein, and alleged)


    36. Based on plaintiffs conversation the previous day with Officer Nielsen about the effectiveness
    of face coverings & after plaintiff's conversation with the nurse ... It concerned him that the very
    next day in med line that he witnessed Officer Nielsen fail to respond reasonably to protect him
    which creates a substantial risk where plaintiff can be harmed by a COVID infection. Plaintiff
    believes this fits the legal standard of deliberate indifference. There are posters everywhere you
    walk around the Two Rivers Correctional Institution about the warnings and preventative methods
    of keeping yourself safe from contracting COVID-19. This is an Eighth Amendment violation of
    Cruel and Unusual Punishment, that creates an unsafe environment by negligent staff in this age of
    the COVID-19 pandemic.


    37. On Sunday morning July 26 th , 2020 at 0907 hrs, plaintiff was at morning med line when he
    witnessed Officer Nielsen once again improperly wearing his face covering just over his mouth.
    When Officer Nielsen saw plaintiff in line, he pulled up his mask over his nose and ignored him.
    Plaintiff didn't know how long before he arrived did the officer improperly wear his face covering
    or for how long after plaintiff left to return to his housing unit? Plaintiff is sure that the cameras in
    the area would show his indifference to protecting plaintiff.




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    38. Upon information and belief plaintiff was talking with several staff members about the
    screening process for them to enter into this institution before they are allowed into to work. This
    consists of a few questions and a current temperature reading. It has proven in the present day that
    staff entering into the institution that are proven asymptomatic or has symptoms, it means that any
    AI Cs in contact with those asymptomatic staff are to be monitored and quarantined by the medical
    department. Plaintiff alleges that this action by staff to expose and infect inmates can rise to the
    legal standard of evil intent if they choose to not wear a mask properly or wear one at all. When a
    staff member makes a personal choice to endanger AI Cs, this shows the court their personal
    capacity in which they are being sued and need to be held accountable. Plaintiff is not a medical
    professional so he has no personal knowledge of which staff are asymptomatic with COVID-19.
    Plaintiff want the court to understand that the plaintiff can't bring it in from the streets like a staff
    member can. Plaintiff does know that it can end his life if infected with COVID-19 because of his
    pre-existing health conditions.


    39. Upon information and belief the plaintiff had been made aware on August 25t11, 2020 by the
    television show Good Morning America, the University of North Carolina at Chapel Hill did a
    study about people that only wore face coverings over their mouth and not their nose. It was
    explained to the viewing audience that the nose contains higher amounts of CO VID-19 which can
    be spread easier breathing through the nose which isn't covered. This is why a CO VID-19 test is
    done through the nose to find those detectable amounts of this disease.


    40. The study also said that bandannas are not enough material to stop the expulsion of droplets
    from the nose in the event of a sneeze which is why the less layers worn, the bigger the chances of
    transmission of this disease. A face mask like a painter's mask is not 100% effective because it can
    release COVID-19 particles through the vents. These reasons show that it is imperative to wear a
    face covering properly at all times, especially by the men and women that work in the Oregon
    Department of Corrections, specifically the Two Rivers Correctional Institution where the plaintiff
    is housed.


    41 . The defendants will allege that no laws were broken in order to argue for a motion to dismiss or
    summary judgment from the beginning. Plaintiff is alleging that their conduct did break the laws in
    Oregon. Specifically, Oregon Revised Statute (ORS) 433.010, "No person shall willfully cause

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    the spread of any communicable disease within this state." This is a Class C felony which is
    punishable of up to five years in the Oregon Department of Corrections. This statute is clear about
    why it is a crime. This deadly disease is communicably spread from an asymptomatic person with
    COVID-19 refusing to wear a mask properly to an unsuspecting victim such as an incarcerated
    person.


    42. The defendants can also be held accountable under the ORS 161.405 "A person is guilty of an
    attempt to commit a crime when the person intentionally engages in conduct which contributes a
    substantial step toward the commission of a crime." The conduct described above meets the
    "objective" and "subjective" requirements for Farmer v. Brennan 511 U.S. 825 (1994).


        43. This conduct meets the legal requirements to be charged with crimes under the ORS while
using their individual capacities to create unsafe prison conditions. They have violated their oath to the
State of Oregon when they failed to protect me from potential harm. Their negligence also violated
DOC Policies 20 .1.1 , 20 .1.2, 20 .1.3 as well.


                                IV. EXHAUSTION OF LEGAL REMEDIES


    44. PLAINTIFF AARON M. HANNA formerly TIMOTHY ALAN HINKHOUSE used the
    prisoner grievance procedure available at the Two Rivers Correctional Institution to try and solve
    the problem(s). On June 27th, 2020, PLAINTIFF AARON M. HANNA formerly TIMOTHY
    ALAN HINKHOUSE presented the facts relating to this complaint in his first grievance concerning
    the COVID-19 Virus Case No. TRCI-2020-06-166 and exposure by staff, Officer Davis, TRCI
    Administration and Management who instructed Officer Davis to do so. On July 10th, 2020,
    PLAINTIFF AARON M. HANNA formerly TIMOTHY ALAN HINKHOUSE was sent a response
    to his first grievance saying that the grievance was denied. On July 13 1\ 2020 he appealed the
    denied grievance which said "The grievance rule does not permit a returned grievance or grievance
    appeal to be appealed. Therefore, this appeal is denied." See Exhibits A & B.


    45. On July 191\ 2020, PLAINTIFF AARON M. HANNA formerly TIMOTHY ALAN
    HINKHOUSE presented the facts relating to this complaint in his first grievance concerning the
    CO VID-19 Virus and exposure by careless staff, Officer E. Nielsen. On August 11 1\ 2020 I was


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    sent the response, #TRCI-2020-07-125 "Your grievance was accepted and sent for a response. You
    should expect a response within 35 days from the date of this notice. If you do not receive a
    response within 35 days contact your institutions Grievance Coordinator." On August 171\ 2020 an
    unacceptable and untrue response was sent by Officer E. Nielsen saying, "I do not recall this exact
    interaction with you. I interact with hundreds of Adults in Custody a day over the course of two
    med-lines and two glucose lines. In response to the allegation of not covering my nose, I always
    wear my mask over my nose, especially when I am in med-line. My mask is the only barrier
    between Adults in Custody in med-line and myself when AI C's remover their mask to show me the
    inside of their mouth. Per institution rules, all AI C's must show the med-line officer the inside of
    their mouth to prove they ingested their pill/pills, for the safety of the institution. I try to position a
    cart/table between the AI C's and myself to create a six foot distance, but that distance is not always
    respected by the AI C's, emphasizing the need for the mask. I do realize that COVID 19 is a very
    dangerous virus and that it is very important to have a face covering on and covering the nose. I
    will continue to do my best to slow and stop the transmission of this dangerous virus."


    46. The Plaintiff appealed the grievance on Wednesday August 19111, 2020. On September 11 t11,
    2020 a response was given to the appeal saying, "Dear AIC Timothy Hinkhouse, This letter is in
    response to your initial Grievance Appeal, #TRCI-2020-07-125A, in which you claim
    Correctional Officer Nielsen was not wearing the protective mask properly while conducting
    medication and glucose lines. I have reviewed your appeal, as well as all prior documentation
    relating to this grievance. According to Correctional Officer Nielsen, he wears the protective mask
    in accordance with policies and guidelines that been established. He continues to ensure social
    distancing is maintained and encourages and to follow these policies and guidelines. Thank you for
    addressing your concerns appropriately. Sincerely, Tyler Blewett, Superintendent."


    47. On September 171\ 2020 plaintiff appealed the final grievance appeal. On September 2Y\
    2020 it was accepted and sent for a response. Plaintiff should receive a response within 35 days
    from September 301\ 2020. Plaintiff received a response dated October 16, 2020 saying, "Dear AIC
    Timothy Hinkhouse, This letter is in response to your Final Grievance Appeal #TRCI-2020-07-
    125AA, in which you claim Correctional Officer Neilson was not wearing the protective mask
    while conducting medication and glucose lines. I have reviewed your appeal, and I concur with the
    response you received from Assistant Superintendent Ridley on behalf of Superintendent Blewett.

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    You have not provided any additional information in this appeal that would warrant a response
    other than you have already received. Thank you for addressing your concerns appropriately. This
    concludes the grievance review process for this matter. Sincerely, Mark Nooth, East side
    Institutions Administrator."


    48. "On August 241\ 2020 at the morning med-line, plaintiff witnessed Officer E. Nielsen not
    wearing his face mask properly. Plaintiff wrote an AIC Communication Form to the Grievance
    Coordinator letting them know to add this to the pending grievance appeal as evidence that he
    doesn't "always wears his mask." See Exhibit C.


    49. On July 15 1\ 2020 plaintiff submitted a grievance saying,"On this day, c/o Plourde was
    working unit 12 and he was walking the bottom tier. I was sitting in the day room with my back to
    cell #12 when out of the corner of my eye I saw c/o Plourde not wearing a mask. As he approached
    where I was sitting I asked him him where is your mask? He replied, "In my pocket." He was
    standing closer than six feet away. I was told that the administration in Salem had mandated that all
    staff who cannot practice social distancing shall wear a face covering around AIC's. At 2005 hrs,
    Sgt. Irving came onto unit 12 and I saw her talking to both unit 12 officers in front of the office
    while wearing a face covering. Sgt. Irving failed to remind her subordinates of their duty to protect
    AIC's and to wear a mask. Clo Bell worked unit 12 from 1400hrs. To 1800hrs wearing a mask when
    he could not practice social distancing. Clo Carrillo came in at 1800hrs till 0600 and I didn't
    observe him wearing a mask. Look on the video footage on this day and time of third shift to see
    that policies implemented by Salem have been ignored."


    50. The response was sent dated August 17'", 2020 which said, "The grievance you submitted is
    being returned to you due to non-compliance with the Department of Corrections (DOC) Rule # 109
    (Grievance Review System) for the following reason(s): I am returning your grievance to you as
    your submission contains multiple staff not wearing masks at different times. Which single incident
    are you grieving? Which staff person/instance are you grieving? If you are grieving the Sgt.,
    provide information as to why/how you believe she did not say anything to staff or remove that
    portion from your grievance. (1) An AIC may only request review of one matter, action, or incident
    per grievance. Oregon Administrative Rule (OAR) 291-109-0225 Grievance and a Appeals
    Processing Standards, (2) Grievances and grievance appeals returned for correction: (a) An AIC

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    may elect to resubmit a grievance or grievance appeal that has been returned for correction to the
    AIC because it does not comply with these rules. (b) The grievance appeal may only be submitted
    twice and must be received by the institution grievance coordinator within 14 calendar days from
    when the grievance or grievance appeal was originally returned to the AIC. (c) If rewritten, the
    return receipt and original grievance or grievance appeal must also be attached. If you have
    questions regarding your grievance, please refer to the Department of Corrections Administrative
    Rule "Grievance Review System" tab # 109 located in the legal library or kyte your institution
    Grievance Coordinator."


    51. On August 1911\ 2020 plaintiff resubmitted a grievance Case No. TRCI-2020-07-148a,
    concerning Officer Plourde and Officer Carrillo for an incident that happened on July 15 111, 2020.
    The grievance was re-written saying, "The day described above, C/O Plourde was assigned to work
    unit 12, which was the same day the directive came from Director Colette Peters telling all ODOC
    staff to wear masks around AI C's if they can't social distance. C/O Plourde did not wear a mask,
    which was a direct violation of the ODOC policies from Salem set in place to protect AIC's which
    was a breach of his duty."


    52. On August 1911\ 2020 plaintiff resubmitted a grievance Case No. TRCI-2020-07-148 which is
    now given the Case No. TRCI_2020_08_202, concerning Sergeant Irving for an incident that
    happened on July 15 1\ 2020. The grievance was re-written saying. "I saw Sergeant Irving on unit 12
    speaking with both officers in front of the office door. She was wearing a mask. At no time did I see
    Officer Plourde or Officer Carrillo put on a mask while they were talking or after she left. Either
    Sgt. Irving failed to tell her subordinates to wear a mask around AI C's per the Salem mandate, or
    she told her officers to wear their masks and they defied Sgt. Irving and the Salem mandate."


    53. The above grievance was denied on September 11, 2020 saying, "The grievance you submitted
    is being returned to you due to non-compliance with the Department of Corrections (DOC)
    Rule#l09 (Grievance Review System) for the following reasons: After further review, this
    grievance is denied. Refer also to receipt for TRCI-2020-07-1 48a, sent to you on 8/17/20. A
    grievance must include a complete description of the incident or issue being grieved, including date
    and time of the incident or issue being grieved, and the specific individual responsible for the
    incident or issue. An AIC cannot have more than four active complaints (grievances, discrimination

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    complaints, or appeals of either) at any time. An AIC may not submit a grievance regarding any
    matter that does not directly and personally affect the AIC or any matter in which the AIC lacks
    personal knowledge of the incident or issue. An AIC may not file more than one accepted grievance
    or discrimination complaint regarding a single incident or issue, regardless of incident date, unless
    substantial new information is available about the incident or issue. Your grievance has not
    demonstrated how it qualifies under (OAR) 291-109-0210. You have not demonstrated
    misapplication of departmental policies, rules, or other directives, unprofessional actions of
    department employees, volunteers, or contractors, inadequate medical or mental health treatment,
    sexual abuse or sexual harassment or excessive force by department employees. If you have any
    questions regarding your grievance, please refer to the Department of Corrections Administrative
    Rule "Grievance Review System" tab# 109 located in the legal library or kyte your institution
    Grievance/Discrimination Complaint Coordinator."


    54. On August 19, 2020 plaintiff submitted a rewritten grievance for case #TRCI-2020-07-148a
    saying, "The day described above, c/o/ Plourde was assigned to work on unit 12, which was the
    same day the directive came from Director Colette Peters telling all ODOC staff to wear a mask
    around AI Cs if they can't social distance. Clo Plourde did not wear a mask his entire shift. At
    1800hrs. Clo Carrillo was assigned to work overtime on unit 12. His entire overtime he did not
    wear a mask, which was a direct violation of the ODOC policies from Salem set in place to protect
    AI Cs, which was a breach of his duty."


    55. On August 28, 2020 a response was sent back to plaintiff from Officer Plourde saying, "That
    day was my first day back from being off work. I had not yet seen the new directive to wear a mask
    when working the open dayroorn/yard. I was still working under the previous wear a mask if six
    feet distance can't be maintained directive. I was maintaining six feet of distance while working the
    dayroom/yard."


    56. On September 2, 2020 plaintiff responded with a grievance appeal saying, "Officer Plourde
    saying that he "had yet seen the new directive to wear a mask", to me, is an unexcusable reply.
    Ignorance of the law is not an excuse that is allowed to be used in a court of law or when an AIC is
    held accountable. Officer 0. Bell worked from 2-6pm on July 15 th with Officer Plourde on unit 12
    and he wore a mask with every AIC encounter, so he must have known about this mandate and he

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    should have informed Officer Plourde? Sgt. Irving was on unit 12 that night around 8:00pm
    wearing a mask, as his supervisor, she must have informed him of this mandate from ODOC
    Director Colette Peters and he refused to follow it?"


    57. On September 10, 2020 the grievance appeal was "Returned For Correction." On September
    17t\ 2020 plaintiff rewrote grievance appeal saying, "Officer Plourde saying that he "had not yet
    seen the new directive to wear a mask", to me is an unexcusable reply. Ignorance of the law is not
    an excuse that is allowed to be used in a court of law or when an AIC is held accountable. He
    worked around other staff that should have known and should have told him about this."


    58. On October 16, 2020 a reply was written and sent to the plaintiff saying, "Dear AIC Timothy
    Hinkhouse, This letter is in response to your initial Grievance Appeal, #TRCI-07-148A, in which
    you claim Correctional Officer Plourde failed to wear a face mask during the scheduled shift. I have
    reviewed your appeal , as well as all prior documentation relating to this grievance. Correctional
    Officer Plourde was working under the direction that if maintaining social distancing, a mask was
    not required. As this direction had changed on, or about, the day in question, he was working under
    that directive. Correctional Officer Plourde now understands the directive and will follow the
    directives that are disseminated. Thank you for addressing your concerns appropriately. Sincerely,
    Tyler Blewett, Superintendent, Two Rivers Correctional Institution."


    59. On October 23 , 2020 plaintiff appealed the decision of Tyler Blewett saying: "Your final
    grievance appeal was accepted and sent for a response. You should expect a response within 35
    days from the date of this notice. If you do not receive a response within 35 days contact your
    institutions Grievance Coordinator."


    60. The reply was written on November 20, 2020 saying, "Dear AIC Timothy Hinkhouse, This
    letter is in response to your Final Grievance Appeal, #TRCI-2020-07-148AA, in which you claim
    Correctional Officer Plourde failed to wear a face mask during the scheduled shift. I have reviewed
    your appeal, and I concur with the response you received from Assistant Superintendent Jackson on
    behalf of Superintendent Blewett. You have not provided any additional information in this appeal
    that would warrant a response other than that which you have already received. Thank you for
    addressing your concerns appropriately. This concludes the grievance review process for this

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    matter. Sincerely, Mark Nooth, Eastside Institutions Administrator.


    61. Plaintiff lives on housing unit number 12 which is located on on corridor four (4) and it is the
    closest corridor to the institution canteen where Officer Plourde has been assigned to work. As a
    result ofliving on corridor 4, plaintiff walks past the canteen on his way to med-line and medical
    call-outs and he sees Officer Plourde each time. On August 24t11, 2020, plaintiff wrote an AIC
    Communication Form to the Grievance Coordinator saying, "I have just recently resubmitted a
    grievance for an incident that happened on July 15 1\ 2020 concerning Officer Plourde not wearing
    any face covering. Today, Officer Plourde was the canteen officer when unit 12 was called and he
    wasn't properly wearing his mask over both his mouth and nose. Several AI Cs had been witness to
    this that were standing in line waiting for their canteen. Please add this to the grievance as an
    attachment to support my claim of his deliberate indifference of his actions over a month after the
    directive came from the Director of Corrections, Colette Peters' office in Salem on July 15 1\ 2020."
    This was stamped and assigned Case number 20-08-68.


    62. Plaintiff wrote another AIC Communication Form to the Grievance Coordinator dated August
    25 11', 2020 saying, "Walking onto corridor 5 passing the canteen, I observed Officer Plourde not
    wearing his mask properly by only covering his mouth. He was wearing his mask the same way as I
    was returning to my housing unit. At 10:27am I was on my way to blood pressure line when I
    passed by the canteen and he was (Officer Plourde) still not wearing his mask properly. He had it
    only covering his mouth again. At 10:37am I was on my way back to corridor 4 to return to my
    housing unit & Officer Plourde still had his face mask just covering his mouth. At his time, Officer
    H. Cochell can also be seen on camera walking right past him and I was behind her and she didn't
    correct his behavior being the senior officer in the area of Officer Plourde. Please enter this into the
    record and attach this to the resubmitted grievance I've written about Officer Plourde concerning
    this issue." Case number 20-08-69.


    63. Plaintiff wrote another AIC Communication to the Grievance Coordinator dated August 26 1\
    2020 saying, "At 8:35am, I was walking past the canteen on my way to med-line when I observed
    Officer Plourde not wearing his face mask properly. It was just covering his mouth. At 8 :41 am, I
    was walking past the canteen on my way back to my housing unit, when I observed Officer Plourde
    wearing his face mask improperly. He had it just covering his mouth and not his nose. At 9:44am, I

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    was walking by the canteen on my way to a medical call-out. I again observed Officer Plourde
    improperly wearing his face mask which was just covering his face . At 9:53am, I observed Officer
    H. Cochell walking past Officer Plourde, with her having seniority, I feel that she should have
    corrected his unprofessional actions. I walked past officer H. Cochell and then Officer Plourde on
    my way back to my housing unit. Per the directive sent from Director of Corrections Colette Peters,
    by way of Governor Kate Brown, and the Centers for Disease Control, all masks are to be worn
    properly which covers both the nose and the mouth. Please add this to the growing amount of
    evidence to support the grievance I've written against Officer Plourde for him violating my Eighth
    Amendment right to be free from Cruel and Unusual Punishment, by him making unsafe prison
    conditions. Case number 20-08-76.


    64. On August 31 s1, 2020, at 9:05am the plaintiff was on his way to med-line when he saw Officer
    Plourde standing in front of the canteen wearing his mask properly. At 9: 14am plaintiff was on his
    way back from med-line returning to his housing unit, when he saw Officer Plourde now wearing
    his face mask improperly just covering his mouth. At 12:59pm, plaintiff was returning from
    medical walking past the canteen when I saw Officer Plourde not wearing his mask properly. He
    had it just covering his mouth. This established a pattern for plaintiff to show the court.


    65. On Sunday September 13, 2020 plaintiff was returning from morning med line. As he was
    passing by the Security Ops. Door on corridor 5 around 0845hrs. Plaintiff had observed Officer
    Cochell not wearing a face mask while holding open this door and talking to Corporal Fairley
    closer than six feet away. This was a blatant disregard for DOC policies 20.1.2 (Code of Ethics),
    20.1.3 (Code of Conduct), orders from Governor Kate Brown, the Centers for Disease Control,
    and the Oregon Health Authority to wear a face mask when you can't safely social distance. This
    was an obvious violation of her duty to protect incarcerated individuals that pass by her respiratory
    droplets lingering in the air and her coworkers that come into contact as well.


    66. On Monday morning September 14, 2020 when unit 12 was called to go to canteen. Officer
    Plourde was the canteen officer, who once again, was improperly wearing his face mask. He was
    standing right by the entrance where AICs go into the canteen to pick up their purchases. Plaintiff
    had to approach the bulletin board closer than six feet away from him to pick up an incentive item
    list. Plaintiff can purchase items with this list in the future for AI Cs with the clear conduct to do so.

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    Plaintiff is not in the position of authority to let an officer know to wear their face coverings
    properly.


    67. On Tuesday evening September 15°1, 2020 around 1800hrs. Plaintiff was called to the
    infirmary to cut hair of some of the patients. This is a job that he has been doing since early 2014.
    Before going to the infirmary, you must first pass through the sally port going into medical and
    have the officer take your temperature before being allowed admittance into medical. The medical
    officer then has to escort the AIC back to the infirmary door. On this particular evening, Officer
    Plourde was the medical officer that took plaintiffs temperature. When Officer Plourde approached
    him, he wasn't wearing his mask properly because it was just covering his mouth. In order to take
    plaintiffs temperature against his forehead, Officer Plourde had to be standing closer than six feet
    away. This shows a continued pattern of deliberate indifference for his blatant disregard for the
    safety of incarcerated individuals at TRCI not wearing his mask properly.


                                           V. LEGAL CLAIMS


    68. PLAINTIFF re alleges and incorporate reference paragraphs 1- 67.


    69. The unsafe conditions violated PLAINTIFF AARON M. HANNA formerly TIMOTHY
    ALAN HINKHOUSE rights and constituted Cruel and Unusual Punishment under the Eighth
    Amendment to the United States Constitution.


    70. The plaintiff has no plain, adequate or complete remedy at law to redress the wrongs described
    herein. Plaintiff has been and will continue to be irreparably injured by the conduct of the
    defendants unless this court grants declaratory and injunctive relief which plaintiff seeks.


    71. (1) Per 42 U.S.C 1997e (a) plaintiff has exhausted available Administrative Remedies.


    72. (2) This claim is not barred by Oregon's Statute of Limitations for (ORS) 433.010.


    73. (3) Eleventh Amendment immunity is inapplicable.


    74. (4) "When resolving a qualified immunity question: the court engages in a two pronged

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    inquiry. Tolan v. Cotton 572 U.S. 650, 655 (2014) The first prong: Whether the officer's conduct
    violated a Federal Right, the second: Whether the right in question was clearly established at the
    time of violation." The Sixth Circuit has held that the COVID-19 Pandemic "easily satisfies" the
    objective prong of the deliberate indifference test, which asks whether inmates are "incarcerated
    under conditions posing a substantial risk of harm. See Wilson v. Williams 961 F.3d 829, 840 (6th
    Cir. 2020). Farmer v. Brennan 511 U.S. At 837, Where the risk of harm is obvious, as in the case
    with COVID-19, "The existence of this subjective state of mind" may be inferred id@841 quoting
    Hope v. Pelzer, 536 U.S. 730, 738 (2002). Defendants used their own conscious state of mind to not
    wear a protective mask or wear one improperly knowing their conduct could cause a COVID-19
    infection in this correctional setting. Having awareness of the substantial harm they can cause in
    their work environment, and the potential risks that could spread COVID-19 to a vulnerable
    population, in which they are sworn to protect is showing their intent to commit harm, which is a
    violation of the U.S. Constitution.


        75. (5) Defendants can and should be charged under ORS 433.010 for merely exposing
plaintiff to COVID-19, for failing to wear a protective mask or wear one properly, and infection would
kill him with his preexisting conditions. Back in the early 1990's, prosecutors in Oregon have charged
defendants who were accused of exposing unsuspecting people to the HIV/ AIDS virus via unprotected
sexual intercourse. This was at the time when there wasn't any life saving treatments and people were
dying with complications from AIDS.


        76. (6) Plaintiff has contacted Linda Simon on November 28 1\ 2020, who is the Public
Information Officer at the Two Rivers Correctional Institution, to ask that she preserve TRCI video
footage the dates, times, and locations of the offenses committed by staff members to back plaintiff's
claims. This footage will also show the court video evidence contrary to their statements given in the
grievance process and what supervisors would have seen if they chose to look at the video instead of
taking the word of staff over what plaintiff saw, as well as the cameras internally.


        77. (7) Plaintiff received a response from Ms. Linda Simon dated December 9th , 2020 saying,
"This memorandum is in fmiher response to your December 1, 2020, request for the following
Department of Corrections records: *Numerous video footage requests, Upon review the department
has determined the above records are exempt from disclosure under ORS 192.355(5). You may seek

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review of our determination pursuant to ORS 192.401, 192.411 , 192,415, 192.418, 192.422, 192.427,
and (formerly ORS 192.450, 192.460, 192.465, 192.4 70, 192.480, and 192.490).


                                         VI. PRAYER FOR RELIEF


    78. WHEREFORE , Plaintiff respectfully prays that this court enter judgment granting Plaintiff:


    79. A declaration that the acts and omissions described herein under the Color of Law and
    individually violated plaintiffs rights under the U.S Constitution, the Laws of the State of Oregon,
    and the United States of America.


    80. A preliminary and permanent injunction ordering defendants Officer Plourde, Carrillo,
    Nielsen, be given the disciplinary actions requested by the plaintiff in the original grievances,
    whether it be a Letter of Expectation or Letter of Reprimand to be placed in their employee files in
    Human Resources. Superintendent Tyler Blewett should be issued reprimand by Director Colette
    Peters, for not investigating claims made by plaintiff via supported by TRCI cameras and talking to
    witnesses, both staff and AI Cs, about the conduct of staff named in this civil suit.


    81. A preliminary and permanent injunction ordering Umatilla County District Attorney to open a
    criminal investigation on the defendant's conduct under ORS. 433.010, to hold named officers
    accountable for their reckless actions during a worldwide pandemic that was and is killing large
    numbers of people.


    82. Compensatory damages in the amount of $5 ,000 against each defendant, jointly and severally.


    83. Punitive damages in the amount of $345,975 against each defendant.


    84. A jury trial on all issues triable by jury.


    85. Plaintiffs costs in this suit.


    86. Any additional relief this court deems just, proper and equitable in holding defendants
    accountable.

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Respec. tfully Submitted,                            :/
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TIMOTHY ALAN H!NKHOUSE #7632447


Two Rivers Correctional Institution


82911 Beach Access Road


Umatilla, Oregon 97882


                                                  VERIFICATION


               I have read the foregoing complaint and hereby verify that the matters alleged herein true,
    except as to matters alleged on information and belief, and, as to those, I believe them to be true. I
    certify under penalty of perjury that the foregoing is true and correct.


                          Executed at Umatilla Oregon on (datetif    RII    /5~ 20'c)., /
                          Signature: d4a,tm       1fl. ~
               AARON M. HANNA formerly, TIMOTHY ALAN HINKHOUSE




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                                            CERTIFICATE OF SERVICE

             cASE NAME:      AA~oAJ ~, HaMAICf
             CASE NUMBER: (if k n o w n ) - - - - - - - - - - - - - - - , - - - - - -

                       COMES NOW,     SA ~of\,) M,      )-/Ct/JA) CA             , and certifies the following:

             That I am incarcerated by the Oregon Department of Corrections at Two Rivers Correctional
             Institution. (TRCI)

         .          That on the I S\ day of         {if g, I            ·,20~     , I personally gave Two
             Rivers Cor   1ional fustitution's e-filing service a TIUJE COPY of1he following:

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